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 Fill in this information to identify the case:

 Debtor name            Glenroy Coachella, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               2:21-bk-11188-BB
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       52,200,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              2,160.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       52,202,160.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       35,023,701.22


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,795,683.66


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         36,819,384.88




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Glenroy Coachella, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-11188-BB
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Account contolled by Receiver                           Checking                                                                 $2,160.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $2,160.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Glenroy Coachella, LLC                                                           Case number (If known) 2:21-bk-11188-BB
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of     Valuation method used    Current value of
                                                      physical inventory         debtor's interest     for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Construction supplies;
           Inventory done by
           Receiver; Value not
           disclosed                                                                           $0.00                                        Unknown



 20.       Work in progress
           Unfinished buildings                                                                $0.00                                        Unknown



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                  $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of     Valuation method used    Current value of
                                                                                 debtor's interest     for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                Name

           Indoor and outdoor furnishings; Inventory
           done by Receiver; Values not disclosed                                      Unknown                                            Unknown



 40.       Office fixtures
           Fixtures; Inventory done by Receiver; Values
           not disclosed                                                                    $0.00                                         Unknown



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Glenroy Coachella, LLC                                                        Case number (If known) 2:21-bk-11188-BB
                Name

            55.1.    Property located at
                     48100 Van Buren St.,
                     Coachella, California,
                     92236; commonly
                     known as 84-141
                     Avenue 48,
                     Coachella, CA 92236;
                     35 acres on 5 APN
                     parcels; as is market
                     value. Value of                      Tenant in
                     approximately                        Common
                     $52,200,000.                         (70.5%
                     Appraisal pending.                   interest)                         $0.00      Appraisal                    $52,200,000.00




 56.        Total of Part 9.                                                                                                      $52,200,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.theglenroy.com                                                              $0.00                                          Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                Name


               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor          Glenroy Coachella, LLC                                                                              Case number (If known) 2:21-bk-11188-BB
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $2,160.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $52,200,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $2,160.00         + 91b.           $52,200,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $52,202,160.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 6
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 Fill in this information to identify the case:

 Debtor name         Glenroy Coachella, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)             2:21-bk-11188-BB
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Al Miller & Sons Roofing,
 2.1
       Inc.                                           Describe debtor's property that is subject to a lien                 $153,901.11           $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       68760 Summit Dr.                               market value. Value of approximately
       Cathedral City, CA                             $52,200,000. Appraisal pending.
       92234-7344
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0009
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 19
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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)      2:21-bk-11188-BB
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Riverside County
       Treasurer
       2. U.S. Real Estate Credit
       Holdings
       3. Gauston Corp.
       4. Hi-Grade Materials Co.
       5. Glendale Plumbing &
       Fire Supply
       6. Constructure, Inc.
       7. Ferguson Enterprises,
       LLC
       8. Superior Ready Mix
       Concrete, L.P.
       9. The Sherwin-Williams
       Company
       10. GF Investment Group
       Inc
       11. Blair Air, Inc.
       12. Hajoca Corpor

       All Phase Drywall &
 2.2
       Development Inc                                Describe debtor's property that is subject to a lien                     $157,794.68   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       1928 Lincoln Dr., Suite N.                     $52,200,000. Appraisal pending.
       Annapolis, MD 21401-4124
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9367
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 19
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              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Riverside County
       Treasurer
       2. U.S. Real Estate Credit
       Holdings
       3. Gauston Corp.
       4. Hi-Grade Materials Co.
       5. Glendale Plumbing &
       Fire Supply
       6. Constructure, Inc.
       7. Ferguson Enterprises,
       LLC
       8. Superior Ready Mix
       Concrete, L.P.
       9. The Sherwin-Williams
       Company
       10. GF Investment Group
       Inc
       11. Blair Air, Inc.
       12. Hajoca Corpor

       American Builders &
 2.3
       Contractors Sup                                Describe debtor's property that is subject to a lien                     $24,813.58   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       One ABC Pkwy.                                  $52,200,000. Appraisal pending.
       Beloit, WI 53511
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 19
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              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Riverside County
       Treasurer
       2. U.S. Real Estate Credit
       Holdings
       3. Gauston Corp.
       4. Hi-Grade Materials Co.
       5. Glendale Plumbing &
       Fire Supply
       6. Constructure, Inc.
       7. Ferguson Enterprises,
       LLC
       8. Superior Ready Mix
       Concrete, L.P.
       9. The Sherwin-Williams
       Company
       10. GF Investment Group
       Inc
       11. Blair Air, Inc.
       12. Hajoca Corpor

 2.4   Apple J Plumbing, Inc.                         Describe debtor's property that is subject to a lien                     $175,824.87   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       456 Citrus Ave.                                $52,200,000. Appraisal pending.
       Indio, CA 92201
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6579
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 19
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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)      2:21-bk-11188-BB
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Riverside County
       Treasurer
       2. U.S. Real Estate Credit
       Holdings
       3. Gauston Corp.
       4. Hi-Grade Materials Co.
       5. Glendale Plumbing &
       Fire Supply
       6. Constructure, Inc.
       7. Ferguson Enterprises,
       LLC
       8. Superior Ready Mix
       Concrete, L.P.
       9. The Sherwin-Williams
       Company
       10. GF Investment Group
       Inc
       11. Blair Air, Inc.
       12. Hajoca Corpor

 2.5   Art Of The Muse, LLC                           Describe debtor's property that is subject to a lien                     $324,180.71       Unknown
       Creditor's Name                                Indoor and outdoor furnishings; Inventory
                                                      done by Receiver; Values not disclosed
       2222 5th St.
       Berkeley, CA 94710
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7148
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Blair Air, Inc.                                Describe debtor's property that is subject to a lien                     $297,443.80   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       653 S. Oleander Rd.                            market value. Value of approximately
       Palm Springs, CA                               $52,200,000. Appraisal pending.
       92264-1502
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5 of 19
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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)     2:21-bk-11188-BB
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6241
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Riverside County
       Treasurer
       2. U.S. Real Estate Credit
       Holdings
       3. Gauston Corp.
       4. Hi-Grade Materials Co.
       5. Glendale Plumbing &
       Fire Supply
       6. Constructure, Inc.
       7. Ferguson Enterprises,
       LLC
       8. Superior Ready Mix
       Concrete, L.P.
       9. The Sherwin-Williams
       Company
       10. GF Investment Group
       Inc
       11. Blair Air, Inc.
       12. Hajoca Corpor

 2.7   BMC West, LLC                                  Describe debtor's property that is subject to a lien                     $50,290.00   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       4800 Falls of Neuse Rd.,                       market value. Value of approximately
       Suite 400                                      $52,200,000. Appraisal pending.
       Raleigh, NC 27609-8142
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8245
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.8   Constructure, Inc.                             Describe debtor's property that is subject to a lien                          $0.00   $52,200,000.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6 of 19
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       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonlyn
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       3940 Laurel Canyon Blvd.,                      market value. Value of approximately
       #908                                           $52,200,000. Claim paid in full.
       Studio City, CA 91604
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.9   Dal Tile Distribution                          Describe debtor's property that is subject to a lien                     $16,521.61   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       P.O. Box 12069                                 $52,200,000. Appraisal pending.
       Calhoun, GA 30703
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 0     Desert Electric Supply                         Describe debtor's property that is subject to a lien                     $61,574.60   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       74875 Velie Way                                $52,200,000. Appraisal pending.
       Palm Desert, CA 92260
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien

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                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9158
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 1     Desert Palms Electric, Inc.                    Describe debtor's property that is subject to a lien                     $389,839.09   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       40101 Monterey Ave.                            market value. Value of approximately
       Rancho Mirage, CA                              $52,200,000. Appraisal pending.
       92270-3261
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6554
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 2     Doug Wall Construction                         Describe debtor's property that is subject to a lien                     $903,600.00   $52,200,000.00
       Creditor's Name                                Property at 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels. Debtor's
                                                      believes this mechanics lien claim includes
                                                      sums owed to subcontractors and suppliers
       78450 Avenue 41                                also scheduled herein, many of whom have
       Bermuda Dunes, CA                              filed their own liens.
       92203-1001
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


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       7309
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 3     Ferguson Enterprises, LLC                      Describe debtor's property that is subject to a lien                     $119,569.73   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       P.O. Box 2778                                  $52,200,000. Appraisal pending.
       Newport News, VA 23602
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6136
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 4     Gauston Corp.                                  Describe debtor's property that is subject to a lien                      $49,983.11   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       45311 Golf Center Pkwy.,                       market value. Value of approximately
       Unit C                                         $52,200,000. Appraisal pending.
       Indio, CA 92201
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6


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 2.1
 5     GF Investment Group Inc                        Describe debtor's property that is subject to a lien                     $259,695.63   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       42600 Glass Dr.                                market value. Value of approximately
       Bermuda Dunes, CA                              $52,200,000. Appraisal pending.
       92203-1468
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1   Glendale Plumbing & Fire
 6     Supply                                         Describe debtor's property that is subject to a lien                      $23,792.54   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       4900 W. Washington Blvd.                       $52,200,000. Appraisal pending.
       Los Angeles, CA 90016
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 7     Hajoca Corporation                             Describe debtor's property that is subject to a lien                      $39,636.17   $52,200,000.00




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       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       2001 Joshua Rd.                                market value. Value of approximately
       Lafayette Hill, PA                             $52,200,000. Appraisal pending.
       19444-2431
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0621
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1
 8     Hi-Grade Materials Co.                         Describe debtor's property that is subject to a lien                     $32,847.96   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       17671 Bear Valley Rd.                          $52,200,000. Appraisal pending.
       Hesperia, CA 92345
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.1   Jacobsson Engineering
 9     Const., Inc.                                   Describe debtor's property that is subject to a lien                 $1,042,299.00    $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       P.O. Box 14430                                 $52,200,000. Appraisal pending.
       Palm Desert, CA 92255
       Creditor's mailing address                     Describe the lien


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                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6568
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2   La Hacienda Nursery &
 0     Landscape Inc                                  Describe debtor's property that is subject to a lien                     $146,717.74   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       80-900 Miles Ave.                              $52,200,000. Appraisal pending.
       Indio, CA 92201-2822
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7155
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2   Resource Building
 1     Materials                                      Describe debtor's property that is subject to a lien                       $1,905.04   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       10961 Dale Ave.                                $52,200,000. Appraisal pending.
       Stanton, CA 90680
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)


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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2
 2     Riverside County Treasurer                     Describe debtor's property that is subject to a lien                     Unknown     $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       P.O. Box 12005                                 $52,200,000. Appraisal pending.
       Riverside, CA 92502-2205
       Creditor's mailing address                     Describe the lien
                                                      Property taxes
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2020-2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0061
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2
 3     Robertson's                                    Describe debtor's property that is subject to a lien                     $3,003.16   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       200 S. Main St., Suite 200                     $52,200,000. Appraisal pending.
       Corona, CA 92882-2212
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5521
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

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 2.2
 4     Southwest Plumbing, Inc.                       Describe debtor's property that is subject to a lien                     $111,141.13   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       31410 Reserve Dr., Suite 5                     market value. Value of approximately
       Thousand Palms, CA                             $52,200,000. Appraisal pending.
       92276-6646
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7201
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2   Superior Pool Products,
 5     LLC                                            Describe debtor's property that is subject to a lien                      $14,386.05   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       4900 E. Landon Dr.                             $52,200,000. Appraisal pending.
       Anaheim, CA 92807-1980
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2   Superior Ready Mix
 6     Concrete, L.P.                                 Describe debtor's property that is subject to a lien                      $20,571.27   $52,200,000.00




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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)      2:21-bk-11188-BB
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       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
                                                      market value. Value of approximately
       86160 Avenue 54                                $52,200,000. Appraisal pending.
       Coachella, CA 92236-3813
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6015
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2
 7     Tandem West Glass Inc.                         Describe debtor's property that is subject to a lien                     $449,849.39   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       1177 W. Lincoln St., Suite                     market value. Value of approximately
       100                                            $52,200,000. Appraisal pending.
       Banning, CA 92220-4524
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0015
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2
 8     TemalPakh, Inc.                                Describe debtor's property that is subject to a lien                      $33,628.46   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       73750 Spyder Cir.                              market value. Value of approximately
       Palm Desert, CA                                $52,200,000. Appraisal pending.
       92211-6023
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 15 of 19
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)     2:21-bk-11188-BB
              Name

                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7262
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.2   The Sherwin-Williams
 9     Company                                        Describe debtor's property that is subject to a lien                     $26,794.79   $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       101 W. Prospect Ave., Suite                    market value. Value of approximately
       1020                                           $52,200,000. Appraisal pending.
       Cleveland, OH 44115-1027
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

 2.3   U.S. Real Estate Credit
 0     Holdings                                       Describe debtor's property that is subject to a lien               $30,092,096.00     $52,200,000.00
       Creditor's Name                                Property located at 48100 Van Buren St.,
                                                      Coachella, California, 92236; commonly
                                                      known as 84-141 Avenue 48, Coachella, CA
                                                      92236; 35 acres on 5 APN parcels; as is
       11755 Wilshire Blvd., Suite                    market value. Value of approximately
       1425                                           $52,200,000. Appraisal pending.
       Los Angeles, CA 90025
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 16 of 19
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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)       2:21-bk-11188-BB
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       Last 4 digits of account number
       4805
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.6

                                                                                                                               $35,023,701.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         22

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
        A. Maria Plumtree
        11132 Winners Circle, #G 207                                                                          Line   2.15
        Los Alamitos, CA 90720-3449

        Abdulaziz, Grossbart & Rudman
        6454 Coldwater Canyon Ave.                                                                            Line   2.7
        North Hollywood, CA 91606-1187

        Alan G. Tippie
        Sulmeyer Kupetz                                                                                       Line   2.30
        333 S. Grand Ave., Suite 3400
        Los Angeles, CA 90071

        All-Phase Drywall
        1187 13th St.                                                                                         Line   2.2
        Imperial Beach, CA 91932

        Arnold L. Veldkamp
        1508 W. Mission Rd.                                                                                   Line   2.26
        Escondido, CA 92029

        Calmwater Capital
        11755 Wilshire Blvd., Suite 1425                                                                      Line   2.30
        Los Angeles, CA 90025

        Christopher Rivas
        Reed Smith LLP                                                                                        Line   2.30
        355 S. Grand Ave., Suite 2900
        Los Angeles, CA 90071

        Christopher W. Bayuk
        5170 Golden Foothills Parkway                                                                         Line   2.17
        El Dorado Hills, CA 95762-9608

        Cummins & White, LLP
        2424 S.E. Bristol St., Suite 300                                                                      Line   2.20
        Newport Beach, CA 92660-0764

        Dal Tile Distribution, Inc.
        7834 C.F. Hawn Freeway                                                                                Line   2.9
        Dallas, TX 75217-6529




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 17 of 19
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 Debtor       Glenroy Coachella, LLC                                                    Case number (if known)   2:21-bk-11188-BB
              Name

        Edwin W. Leslie
        LK Asset Advisors                                                                       Line   2.30
        209 10th Ave. South, Suite 416
        Nashville, TN 37203

        Fidelity National Title Company
        1101 Investment Blvd., Suite 170                                                        Line   2.30
        El Dorado Hills, CA 95762

        George H. Sykulksi
        P.O. Box 10426                                                                          Line   2.13
        Burbank, CA 91510

        George H. Sykulksi
        3156 Abington Dr.                                                                       Line   2.13
        Beverly Hills, CA 90210-1101

        Guralnick & Gilliland, LLP
        40004 Cook St., Suite 3                                                                 Line   2.19
        Palm Desert, CA 92211

        Kozberg & Bodell, LLP
        1801 Century Park East, 16th Fl.                                                        Line   2.2
        Los Angeles, CA 90067

        Lanak & Hanna, P.C.
        625 The City Drive South, Suite 190                                                     Line   2.29
        Orange, CA 92868

        Marc S. Homme, APLC
        P.O. Box 4250                                                                           Line   2.12
        Palm Desert, CA 92261-4250

        Nathan M. Carle
        Raines Feldman LLP                                                                      Line   2.30
        8401 Von Karman Ave., Suite 360
        Irvine, CA 92612-8541

        Resource Building Materials
        1050 W. Ave. M                                                                          Line   2.21
        Lancaster, CA 93534

        Roemer & Harnik, LLP
        45025 Manitou Dr.                                                                       Line   2.6
        Indian Wells, CA 92210

        Solid Rock Painting Corporation
        82545 Showcase Parkway, Suite 109                                                       Line   2.29
        Indio, CA 92203

        Stephen J. Armstrong
        44200 Monterey Ave., Suite B                                                            Line   2.17
        Palm Desert, CA 92260-2708

        Stephen J. Armstrong
        44200 Monterey Ave., Suite B                                                            Line   2.19
        Palm Desert, CA 92260-2708

        Stephen J. Armstrong
        44200 Monterey Ave., Suite B                                                            Line   2.11
        Palm Desert, CA 92260-2708




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                   page 18 of 19
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
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 Debtor       Glenroy Coachella, LLC                                                    Case number (if known)   2:21-bk-11188-BB
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        Stephen J. Armstrong
        44200 Monterey Ave., Suite B                                                            Line   2.4
        Palm Desert, CA 92260-2708

        Stephen J. Armstrong
        44200 Monterey Ave., Suite B                                                            Line   2.28
        Palm Desert, CA 92260-2708

        Stephen J. Armstrong
        44200 Monterey Ave., Suite B                                                            Line   2.27
        Palm Desert, CA 92260-2708

        Stephen J. Armstrong
        44200 Monterey Ave., Suite B                                                            Line   2.1
        Palm Desert, CA 92260-2708

        Superior Pool Products, LLC
        109 Northpark Blvd.                                                                     Line   2.25
        Covington, LA 70433




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                   page 19 of 19
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
             Case 2:21-bk-11188-BB                            Doc 58 Filed 03/01/21 Entered 03/02/21 00:00:28                                              Desc
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 Fill in this information to identify the case:

 Debtor name         Glenroy Coachella, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           2:21-bk-11188-BB
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $24,813.58
           ABC Supply Co., Inc.                                                 Contingent
           1 ABC Parkway                                                        Unliquidated
           Beloit, WI 53511                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $17,106.74
           All-Wall Equipment Co., Inc.                                         Contingent
           6561 W. Post Rd.                                                     Unliquidated
           Las Vegas, NV 89118                                                  Disputed
           Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Vendor debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           ASR Development Co.                                                  Contingent
           c/o Stuart Rubin                                                     Unliquidated
           1801 S. La Cienega Blvd., #301                                       Disputed
           Los Angeles, CA 90035
                                                                                              Loans made to the Debtor to fund the Debtor's
                                                                             Basis for the claim:
           Date(s) debt was incurred
                                                                             Project, including construction costs.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $72,080.32
           Barajas Plastering Co.                                               Contingent
           81-328 Avenida Romero                                                Unliquidated
           Indio, CA 92201
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 10
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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)            2:21-bk-11188-BB
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Bret H. Reed Jr.                                                      Contingent
          28 Avocado Ave.                                                       Unliquidated
          Corona Del Mar, CA 92625-1915
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Brown White & Osborn LLP                                              Contingent
          333 S. Hope St., 40th Fl.                                             Unliquidated
          Los Angeles, CA 90071
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Builders Termite, Inc.                                                Contingent
          13610 Imperial Highway, Suite 4                                       Unliquidated
          Santa Fe Springs, CA 90670
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim by vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $278,429.02
          Carrier Johnson                                                       Contingent
          185 W. F St., Suite 500                                               Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:
          Last 4 digits of account number       1080
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Carrier Johnson                                                       Contingent
          185 W. F St., Suite 500                                               Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0085
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          City of Coachella                                                     Contingent
          53-990 Enterprise Way                                                 Unliquidated
          Coachella, CA 92236
                                                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Potential claim arising out of litigation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,032.61
          City of Coachella                                                     Contingent
          1515 Sixth St.                                                        Unliquidated
          Coachella, CA 92236                                                   Disputed
          Date(s) debt was incurred  2019-2020                               Basis for the claim:    Utility services
          Last 4 digits of account number 9873
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 10
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              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $378,000.00
          City of Coachella                                                     Contingent
          53-990 Enterprise Way                                                 Unliquidated
          Coachella, CA 92236                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,500.00
          Coachella Valley Collection Service                                   Contingent
          P.O. Box 13621                                                        Unliquidated
          Palm Desert, CA 92255-3621                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6271
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,991.67
          Colliers Project Leaders                                              Contingent
          135 New Road                                                          Unliquidated
          Madison, CT 06443                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction Management
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,000.00
          CSC                                                                   Contingent
          251 Little Falls Dr.                                                  Unliquidated
          Wilmington, DE 19808-1674                                             Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:    Agent of process services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          David A. Sudeck                                                       Contingent
          Jeffer Mangels Butler & Mitchell                                      Unliquidated
          1900 Avenue of the Stars, 7th Fl.
                                                                                Disputed
          Los Angeles, CA 90067
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential clail for legal fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,798.91
          Design Development Co.                                                Contingent
          28035 Dorothy Dr., Suite 100                                          Unliquidated
          Agoura Hills, CA 91301                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Kitchen Design & Interiors Building
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Fire Code Inc.                                                        Contingent
          63 Via Pico Plaza, Suite 102                                          Unliquidated
          San Clemente, CA 92672
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim by vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Greenberg & Bass                                                      Contingent
          16000 Ventura Blvd., Suite 1000                                       Unliquidated
          Encino, CA 91436
                                                                                Disputed
          Date(s) debt was incurred 2020-2021
                                                                             Basis for the claim:    Potential claim for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          GRT RE Investment LLC                                                 Contingent
          2664 Pepperdale Dr.                                                   Unliquidated
          Rowland Heights, CA 91748
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,065.05
          Hugh T. Smith Co.                                                     Contingent
          5383 Roberts Rd.                                                      Unliquidated
          Yucca Valley, CA 92284                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,404.00
          Inland Valley Sladden, Inc.                                           Contingent
          45 Egan Ave.                                                          Unliquidated
          Beaumont, CA 92223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Geotechnical & Testing
          Last 4 digits of account number       HOLD
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,937.61
          J & B Materials                                                       Contingent
          1165 N. Johnson Ave.                                                  Unliquidated
          El Cajon, CA 92020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,094.30
          JAMS                                                                  Contingent
          18881 Von Karman Ave., Sujite 350                                     Unliquidated
          Irvine, CA 92612                                                      Disputed
          Date(s) debt was incurred 6/2020-10/2020
                                                                             Basis for the claim:    Arbitration fees
          Last 4 digits of account number 5034
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jeffrey D. Segal                                                      Contingent
          1840 Century Park East, 17th Fl.                                      Unliquidated
          Los Angeles, CA 90067
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 10
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 Debtor       Glenroy Coachella, LLC                                                                  Case number (if known)            2:21-bk-11188-BB
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $37,425.00
          KMA Consulting                                                        Contingent
          151 Kalmus Dr., Suite C230                                            Unliquidated
          Costa Mesa, CA 92626                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Site Plumbing
          Last 4 digits of account number       9003
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,505.40
          L & W Supply Corporation                                              Contingent
          P.O. Box 838                                                          Unliquidated
          Beloit, WI 53512                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7895
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,385.14
          Legacy Foodservice Design LLC                                         Contingent
          2380 Thayer Ave.                                                      Unliquidated
          Henderson, NV 89074-5415                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Monetary Judgment
          Last 4 digits of account number 705C
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,841.35
          Mascorro Concrete Construction Inc                                    Contingent
          P.O. Box 910                                                          Unliquidated
          Thousand Palms, CA 92276                                              Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number 6560
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          McGarrigle, Kenney & Zampiello, APC                                   Contingent
          9600 Topanga Canyon Blvd., Suite 20                                   Unliquidated
          Chatsworth, CA 91311
                                                                                Disputed
          Date(s) debt was incurred 2020-2021
                                                                             Basis for the claim:    Potential claim for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          MGR Concrete, Inc.                                                    Contingent
          P.O. Box 886                                                          Unliquidated
          Desert Hot Springs, CA 92240
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim by vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,000.00
          Neil Rosenfield                                                       Contingent
          Baker Tilly                                                           Unliquidated
          15760 Ventura Blvd., Suite 1100
                                                                                Disputed
          Encino, CA 91436
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounting fees
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $39,244.38
          Orco Block & Hardscape                                                Contingent
          11100 Beach Blvd.                                                     Unliquidated
          Stanton, CA 90680-3219                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number       7155
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Orrick                                                                Contingent
          777 S. Figueroa St.                                                   Unliquidated
          Los Angeles, CA 90017-5855
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,833.58
          Palm Springs Welding Inc.                                             Contingent
          1189 N. Valdivia Way                                                  Unliquidated
          Palm Springs, CA 92262
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim by vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Palms to Pines Automotive                                             Contingent
          74-725 Joni Dr.                                                       Unliquidated
          Palm Desert, CA 92260
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim by vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Porsche Leasing Ltd.                                                  Contingent
          1 Porsche Dr.                                                         Unliquidated
          Atlanta, GA 30354-1654
                                                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number       0080
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Porsche Leasing Ltd.                                                  Contingent
          1 Porsche Dr.                                                         Unliquidated
          Atlanta, GA 30354-1654
                                                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number       1266
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Reed Smith LLP                                                        Contingent
          355 S. Grand Ave., Suite 2900                                         Unliquidated
          Los Angeles, CA 90071
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim for legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 10
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              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Rosenfeld Wolff & Klein                                               Contingent
          1901 Avenue Of The Stars, Suite 500                                   Unliquidated
          Los Angeles, CA 90067
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim fro unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,597.50
          RTM Engineering Consultants, LLC                                      Contingent
          650 E. Algonquin Rd., Suite 250                                       Unliquidated
          Schaumburg, IL 60173                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number A001
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73,557.34
          Saxon Engineering                                                     Contingent
          2605 Temple Heights Dr., Suite A                                      Unliquidated
          Oceanside, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Civil Engineering Fees
          Last 4 digits of account number       7024
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Sean A. O'Keefe                                                       Contingent
          26 Executive Park, Suite 25                                           Unliquidated
          Irvine, CA 92614-2701
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential clain for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Silhouette Outdoor Furniture, Inc.                                    Contingent
          3923 N. Kostner Ave.                                                  Unliquidated
          Chicago, IL 60641-2839                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number v373
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $291,430.87
          SMS Architects                                                        Contingent
          18004 Sky Park Cir., Suite 200                                        Unliquidated
          Irvine, CA 92614                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Architect Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,870.00
          State Water Resources Control Board                                   Contingent
          PO Box 1888                                                           Unliquidated
          Sacramento, CA 95812-1888                                             Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:    Dtorm water and wastewater permit fee
          Last 4 digits of account number 2816
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Stuart Rubin                                                          Contingent
          715 N. Alpine Dr.                                                     Unliquidated
          Beverly Hills, CA 90210                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans made from Stuart Rubin to the Debtor.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,359.40
          Systems Waterproofing, Inc.                                           Contingent
          223 West Blueridge Ave.                                               Unliquidated
          Orange, CA 92865                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Technical Works California, LLC                                       Contingent
          13200 Crossroads Pkwy N., Suite 250                                   Unliquidated
          City of Industry, CA 91746-3480
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Thyne Taylor Fox Howard LLP                                           Contingent
          2000 State St.                                                        Unliquidated
          Santa Barbara, CA 93105-3554
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim for unpaid legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $61,574.60
          TLR Enterprises, Inc.                                                 Contingent
          74875 Velie Way                                                       Unliquidated
          Palm Desert, CA 92260                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number       6552
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,639.00
          Vacation Pools, Inc.                                                  Contingent
          44907 Golf Center Pkwy., #9                                           Unliquidated
          Indio, CA 92201
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim by vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,666.29
          West Coast Sand and Gravel Inc.                                       Contingent
          P.O. Box 5067                                                         Unliquidated
          Buena Park, CA 90621-5067                                             Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number 7264
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Zimmerman Group                                                      Contingent
           28202 Cabot Rd., Suite 620                                           Unliquidated
           Laguna Niguel, CA 92677
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Potential claim for unpaid fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Abdulaziz, Grossbart & Rudman
           6454 Coldwater Canyon Ave.                                                                 Line     3.9
           North Hollywood, CA 91606-1187
                                                                                                             Not listed. Explain

 4.2       Christopher J. Koorstad
           1235 N. Harbor Blvd., Suite 200                                                            Line     3.49
           Fullerton, CA 92832-1349
                                                                                                             Not listed. Explain

 4.3       City of Indio
           100 Civic Center Mall                                                                      Line     3.10
           Indio, CA 92201
                                                                                                             Not listed. Explain

 4.4       Dunn Desantis Walt & Kendrick, LLP
           750 B St., Suite 2620                                                                      Line     3.8
           San Diego, CA 92101-8172
                                                                                                             Not listed. Explain

 4.5       Howard Goodman
           18321 Ventura Blvd., Suite 755                                                             Line     3.53
           Tarzana, CA 91356
                                                                                                             Not listed. Explain

 4.6       John D. Gallegos
           35900 Bob Hope Dr., Suite 170                                                              Line     3.13
           Rancho Mirage, CA 92270
                                                                                                             Not listed. Explain

 4.7       Lanak & Hanna, P.C.
           625 The City Drive South, Suite 190                                                        Line     3.27
           Orange, CA 92868
                                                                                                             Not listed. Explain

 4.8       Michael T. Chulak
           30343 Canwood St., Suite 203                                                               Line     3.20
           Agoura Hills, CA 91301
                                                                                                             Not listed. Explain

 4.9       Porsche Financial Services, Inc.
           1 Porsche Dr.                                                                              Line     3.37
           Atlanta, GA 30354-1654
                                                                                                             Not listed. Explain

 4.10      Rosenfeld Meyer and Susman LLP
           232 N. Canon Dr.                                                                           Line     3.44
           Beverly Hills, CA 90210-5302
                                                                                                             Not listed. Explain



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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.11      Royal & Miles LLP
           1522 W. Warm Springs Rd.                                                              Line     3.28
           Henderson, NV 89014
                                                                                                        Not listed. Explain

 4.12      Seth Merewitz
           Best Best & Krieger                                                                   Line     3.10
           300 S. Grand Ave., 25th Fl,
           Los Angeles, CA 90071                                                                        Not listed. Explain


 4.13      Slovak Baron Empey Murphy & Pinkney
           74785 Highway 111, Suite 105                                                          Line     3.10
           Indian Wells, CA 92210
                                                                                                        Not listed. Explain

 4.14      Stephen J. Armstrong
           44200 Monterey Ave., Suite B                                                          Line     3.29
           Palm Desert, CA 92260-2708
                                                                                                        Not listed. Explain

 4.15      Tharpe & Howell
           15250 Ventura Blvd., 9th Fl.                                                          Line     3.37
           Sherman Oaks, CA 91403-3221
                                                                                                        Not listed. Explain

 4.16      Tharpe & Howell
           15250 Ventura Blvd., 9th Fl.                                                          Line     3.38
           Sherman Oaks, CA 91403-3221
                                                                                                        Not listed. Explain

 4.17      The Green Law Group, LLP
           1777 E. Los Angeles Ave.                                                              Line     3.51
           Simi Valley, CA 93065
                                                                                                        Not listed. Explain

 4.18      William C. Hoggard
           625 The City Drive South, Suite 200                                                   Line     3.33
           Orange, CA 92868
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  1,795,683.66

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    1,795,683.66




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 Fill in this information to identify the case:

 Debtor name         Glenroy Coachella, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-11188-BB
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Lease of 2018 Land
             lease is for and the nature of               Rover Range Rover
             the debtor's interest

                  State the term remaining
                                                                                     Ally Financial
             List the contract number of any                                         P.O. Box 78234
                   government contract                                               Phoenix, AZ 85062


 2.2.        State what the contract or                   Construction
             lease is for and the nature of               consulting
             the debtor's interest

                  State the term remaining
                                                                                     Colliers International Group, LLC
             List the contract number of any                                         11601 Wilshire Blvd., Suite 1950
                   government contract                                               Los Angeles, CA 90025


 2.3.        State what the contract or                   Agreement to Pay
             lease is for and the nature of               Assessment and
             the debtor's interest                        Finance Improvements

                  State the term remaining
                                                                                     CSCDA
             List the contract number of any                                         1700 N. Broadway, Suite 405
                   government contract                                               Walnut Creek, CA 94596


 2.4.        State what the contract or                   Hotel consulting
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Highgate Hotels, LP
             List the contract number of any                                         870 Seventh Ave., 2nd Fl.
                   government contract                                               New York, NY 10019




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Glenroy Coachella, LLC                                                              Case number (if known)   2:21-bk-11188-BB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Hotel license
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      InterContinental Hotels Group
             List the contract number of any                                          3 Ravinia Dr., Suite 100
                   government contract                                                Atlanta, GA 30346-2149


 2.6.        State what the contract or                   PACE Funding
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      PACE Equity LLC
             List the contract number of any                                          731 N. Jackson St., Suite 420
                   government contract                                                Milwaukee, WI 53202


 2.7.        State what the contract or                   Lease of 2019 Bentley
             lease is for and the nature of               Bentayga
             the debtor's interest

                  State the term remaining
                                                                                      Porsche Financial Services, Inc.
             List the contract number of any                                          1 Porsche Dr.
                   government contract                                                Atlanta, GA 30354-1654




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Glenroy Coachella, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:21-bk-11188-BB
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Coachella                         1801 La Cienega Blvd., Suite 301                  City of Coachella                  D
             Lighthouse LLC                    Los Angeles, CA 90035                                                                E/F       3.10
                                                                                                                                    G




    2.2      Coachella                         1801 S. La Cienega Blvd., Suite 301               U.S. Real Estate                   D   2.30
             Resort, LLC                       Los Angeles, CA 90035                             Credit Holdings                    E/F
                                                                                                                                    G




    2.3      Desert Palms                      40101 Monterey Ave.                               TLR Enterprises, Inc.              D
             Electric, Inc.                    Rancho Mirage, CA 92270-3261                                                         E/F       3.51
                                                                                                                                    G




    2.4      Doug Wall                         78450 Avenue 41                                   TemalPakh, Inc.                    D   2.28
             Construction                      Indio, CA 92203-1001                                                                 E/F
                                                                                                                                    G




    2.5      Doug Wall                         78450 Avenue 41                                   Al Miller & Sons                   D   2.1
             Construction                      Indio, CA 92203-1001                              Roofing, Inc.                      E/F
                                                                                                                                    G




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                                                              Main Document    Page 41 of 51
 Debtor       Glenroy Coachella, LLC                                                      Case number (if known)   2:21-bk-11188-BB


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Doug Wall                         78450 Avenue 41                                 All Phase Drywall &            D   2.2
             Construction                      Indio, CA 92203-1001                            Development Inc                E/F
                                                                                                                              G




    2.7      Elliot B. Lander                  72780 Country Club Dr., Suite 301               U.S. Real Estate               D   2.30
                                               Rancho Mirage, CA 92270-4126                    Credit Holdings                E/F
                                                                                                                              G




    2.8      Force Rubin 2,                    1801 S. La Cienega Blvd., Suite 301             U.S. Real Estate               D   2.30
             LLC                               Los Angeles, CA 90035                           Credit Holdings                E/F
                                                                                                                              G




    2.9      Force Rubin, LLC                  1801 S. La Cienega Blvd., Suite 301             U.S. Real Estate               D   2.30
                                               Los Angeles, CA 90035                           Credit Holdings                E/F
                                                                                                                              G




    2.10     Gary Stiffelman                   383 S. Beverly Glen Blvd.                       U.S. Real Estate               D   2.30
                                               Los Angeles, CA 90024                           Credit Holdings                E/F
                                                                                                                              G




    2.11     Stuart Rubin                      715 N. Alpine Dr.                               Doug Wall                      D   2.12
                                               Beverly Hills, CA 90210                         Construction                   E/F
                                                                                                                              G




    2.12     Stuart Rubin                      715 N. Alpine Drive                             U.S. Real Estate               D   2.30
                                               Beverly Hills, CA 90210                         Credit Holdings                E/F
                                                                                                                              G




    2.13     Stuart Rubin                      715 N. Alpine Dr.                               Ally Financial                 D
                                               Beverly Hills, CA 90210                                                        E/F
                                                                                                                              G   2.1




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Central District of California
 In re       Glenroy Coachella, LLC                                                                           Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $              Per Sect. 327
             Prior to the filing of this statement I have received                                        $                100,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 1, 2021                                                                  /s/ Daniel J. Weintraub
     Date                                                                         Daniel J. Weintraub
                                                                                  Signature of Attorney
                                                                                  Weintraub & Selth, APC
                                                                                  11766 Wilshire Boulevard
                                                                                  Suite 1170
                                                                                  Los Angeles, CA 90025
                                                                                  (310) 207-1494 Fax: (310) 442-0660

                                                                                  Name of law firm




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